Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 1 of 19                    PageID #: 151




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )      2:11-CR-00100-GZS-2
                                             )
TERRELL CAMPBELL                             )


UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )      2:11-CR-00100-GZS-3
                                             )
ESLEY PORTEOUS                               )

                                RECOMMENDED DECISION

       The United States of America has charged Defendants Terrell Campbell and Esley

Porteous with Conspiracy to Possess Fifteen or More Counterfeit Access Devices and Possession

of Fifteen or More Counterfeit Access Devices. Defendant Campbell faces an additional charge

of Use of One or More Counterfeit Access Devices. These acts are prohibited under Title 18 of

the United States Code, section 1029. Defendants Campbell and Porteous have filed motions to

suppress evidence of the indicted crimes gathered during an investigatory traffic stop, some of

which was ultimately seized pursuant to a warrant. The Court referred the motions for report and

recommendation. I conducted a hearing on November 17, 2011, and now offer the Court the

following proposed findings of fact and recommended disposition.

                                 PROPOSED FINDINGS OF FACT

       The United States (the “Government”) bears the burden of demonstrating that the

investigation underlying its prosecution comported with constitutional requirements. Mincey v.

Arizona, 437 U.S. 385, 390-91 (1978) (warrantless searches); Lego v. Twomey, 404 U.S. 477,

489 (1972) (voluntariness of statements); see also United States v. Lopez, 380 F.3d 538, 543
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 2 of 19                     PageID #: 152




(1st Cir. 2004) (vehicle searches); United States v. Monteiro, 447 F.3d 39, 43 (1st Cir. 2006)

(brief investigative stops); United States v. Melendez, 301 F.3d 27, 32 (1st Cir. 2002) (consent to

search). To satisfy this burden, the United States called to the witness stand three law

enforcement officers and introduced into evidence five exhibits, all admitted. Defendants

offered no testimony of their own in support of their motions, but cross-examined the testifying

officers and introduced seven exhibits, five of which were admitted, two of which (police

reports) were never offered. The sworn testimony and exhibits demonstrate, by a preponderance

of the evidence, the following facts concerning the detention and questioning of Defendants and

the search of the subject vehicle.

       On May 21, 2011, at approximately 11 a.m., Patrol Officer Craig Hebert of the

Scarborough Police Department responded to a report of suspicious conduct at a Bull Moose

store in Scarborough, Maine. Upon his arrival at the store, Officer Hebert joined another officer

identified only as Officer Dalton and participated with Officer Dalton in an interview of two Bull

Moose clerks. Based on this interview, Officer Hebert formed an understanding that three black

men, all traveling in the same SUV with a New York registration, entered the store, in

succession, seeking to purchase video game systems. The first man successfully paid $700 for

two systems using a credit card and departed. The second man attempted a similar purchase but

both of the credit cards he presented were declined. During or after the declination process, the

clerks observed that the name on both of the declined credit cards was the same name that was

on the credit card presented by the first man. Subsequently, the third man entered the store and

expressed an interest in purchasing one or more game systems. One of the clerks offered an

excuse for why no additional game systems could be sold and suggested that the man try the

Toys R Us store in South Portland. The clerks told the officers that the men departed together in



                                                 2
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 3 of 19                       PageID #: 153




the same dark-colored SUV and provided a registration number. They told the officers that the

men were likely headed to either Toys R Us or Babies R Us. During this interview, Officer

Hebert relayed to dispatch a description of the vehicle and its purported registration number and

also indicated that the vehicle was occupied by three black males.

       Patrol Officer Kevin Gerrish of the South Portland Police Department responded to a

dispatch call to look for the SUV in the Toys R Us parking lot. He identified an unoccupied

vehicle matching the description, though two of the registration numbers were reversed, and

reported the same through dispatch. Officer Gerrish then waited in the parking lot as the

Scarborough officers continued their investigation at Bull Moose. Before long, three black

males exited the store carrying bags of merchandise. Based on the description of the vehicle and

its occupants provided by the Bull Moose clerks, Officer Gerrish reasonably concluded that these

were the men they were looking for. The men entered the vehicle and departed the store

premises. Officer Gerrish followed in his cruiser and called dispatch to determine whether he

should stop the vehicle. Either dispatch or Officer Hebert responded in the affirmative and

Officer Gerrish activated his lights. This process also activated a cruiser-mounted video

recording device and audio devices on Officer Gerrish‟s person.1 The driver of the SUV pulled

into the parking lot of a hotel, where Officer Gerrish proceeded to investigate, prior to the arrival

of other officers. Officer Gerrish understood that the suspects had been at Bull Moose and that

there was suspicion of fraudulent use of credit cards.

       Officer Gerrish approached the SUV and the driver partially rolled down the window.

Officer Gerrish requested of the driver his license, the vehicle‟s registration, and proof of

insurance. He also requested identification from the two passengers. The passengers,

Defendants Campbell and Porteous, presented valid identification. However, the driver, non-
1
       The audio and video are preserved in Defendants‟ Exhibits 1, 2, and 5.

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Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 4 of 19                         PageID #: 154




moving co-defendant Michael Barnes, said he was unable to produce a driver‟s license. On the

video, beginning at 11:56:10, Officer Gerrish can be heard to tell the three occupants that there

was report that they had trouble with some credit cards at Bull Moose. Their response to this

line of inquiry was evasive, including a statement by one occupant that he “wasn‟t in no Bull

Moose,” and a general group confirmation of this assertion. Barnes also indicated to Officer

Gerrish that he had a New York driver‟s license and he stated that it might be suspended. Barnes

informed Gerrish that the vehicle was a rental and responded with a “yeah” when asked if they

were on vacation in the area.

       According to Officer Gerrish, during this preliminary exchange he detected the scent of

marijuana emanating from the vehicle. Officer Gerrish reported being familiar with the

distinctive odor of marijuana based on his training and years of experience in the field, including

participation in what he described as a “controlled burn” when he was at the Academy. Counsel

for Defendants cross-examined Officer Gerrish on his assertion that he smelled marijuana,

suggesting that this assertion was false. However, based on my observation of the officer‟s

testimony, I find that Officer Gerrish did subjectively believe that he could smell the odor of

marijuana. After roughly four minutes of speaking to Barnes through the window of the

vehicle,2 Officer Gerrish instructed Barnes to exit and he continued to speak with Barnes apart

from the other vehicle occupants. Officer Gerrish asked where the men were staying in the area

and Barnes responded that they were passing through, traveling from New Hampshire to Rhode

Island and had stopped off in the Portland area.




2
       This measure of time is drawn from the video evidence, Defendants‟ Exhibit 5.

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Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 5 of 19                                     PageID #: 155




          Officer Hebert arrived at the hotel parking lot shortly after Officer Gerrish stopped the

vehicle. Within seconds of Barnes‟s exit from the vehicle3, Officer Hebert approached and asked

the person in the rear passenger-side seat to exit the vehicle. This person was Defendant

Campbell, who exited as requested. Officer Hebert brought Campbell away from the vehicle for

isolated questioning. Campbell identified himself and said he was from Brooklyn. He said he

was in the area with the other guys visiting family. When asked whether he had been at Bull

Moose earlier that morning, Campbell responded in the affirmative. When asked about the use

of credit cards at Bull Moose, however, Campbell responded with a question, using words to the

effect of “what credit cards.” He subsequently denied being at Bull Moose and said he had been

in the nearby Subway sandwich shop.

          Meanwhile, Officer Gerrish patted down and handcuffed Defendant Barnes (the driver),

based on Barnes‟s failure to produce a valid identification, and placed Barnes in Officer Hebert‟s

cruiser. During the pat down, Officer Gerrish felt a plastic card in Barnes‟s front pocket and

removed it. This card was an identification card in the name of Shawn Serlin.

          Two other officers appeared on the scene roughly three minutes into Officer Gerrish‟s

questioning of Barnes, while Barnes was still in the vehicle. Those additional officers were

Sergeant Tom Chard of the South Portland Police Department and Officer Dalton, who

previously was involved in the interview of the Bull Moose clerks. Also present on the scene

was Chesca, Sergeant Chard‟s “K-9” partner, a Belgian Malinois certified in, among other

things, evidence detection.4 Sergeant Chard approached the vehicle (without Chesca) and asked


3
          This measure of time is also based on the video evidence, as are subsequent references to the timing of
events.
4
          In addition to Sergeant Chard‟s testimony, evidence of Chesca‟s certifications is found in Government
Exhibits 3 and 4. The latter exhibit is a “resume” of Chesca‟s past exploits, which defense counsel objected to as
overly “self-serving.” I have not placed any special weight on the representations found in this document and have
relied, instead, on Sergeant Chard‟s testimony and Chesca‟s evidence-detection certification to conclude that her
alerts were valid.

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Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 6 of 19                                   PageID #: 156




the remaining passenger, Defendant Porteous, to exit the vehicle. Mr. Porteous did so and they

spoke at the side of the vehicle. When asked what the men were doing in the area, Porteous

responded that his friends were looking for jobs. When asked, Porteous indicated that he had

rented the vehicle. While Sergeant Chard was speaking with Porteous at the side of vehicle,

Officer Gerrish entered the driver‟s side of the vehicle, front and back, and briefly looked over

the passenger compartment. Next, he opened the vehicle‟s hatchback and briefly looked over the

merchandise located there.5

        Sergeant Chard asked Porteous whether he could “put” his dog in the car. Porteous

responded with words to the effect of: “Yeah, you can put the dog in the car.” Chard retrieved

Chesca and let her into the vehicle. Chard observed what he understood to be signs that Chesca

was “alerting” in three locations: the glove box, the front door pocket, and the center console.

Chard proceeded to search these areas, without requesting any additional consent. To search the

glove box Sergeant Chard had to use a vehicle key to unlock it. Inside the glove box, Sergeant

Chard found a box, which he also opened. Inside the box were roughly 50 cards (both credit

cards and identification cards) and three wallets. Sergeant Chard testified that the name of

Shawn Collins was on several of the cards. As for the presence of drugs, Sergeant Chard found

nothing more than marijuana residue where Chesca alerted. However, Chard also found cigar

“blunts” in the vehicle, which he described as cigars with a hollowed out core, commonly used to

smoke marijuana. Officer Gerrish testified, and I find, that he later observed ash in the driver‟s

side, rear door pocket.

        None of the officers provided any of the vehicle‟s occupants with a Miranda warning at

any time during the stop. After discovering the box with the cards, the officers handcuffed


5
        The finding that Officer Gerrish entered the vehicle for a cursory search is also drawn from the video
evidence.

                                                         6
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 7 of 19                     PageID #: 157




Porteous and Campbell and transported the three men for processing. The officers also seized

the vehicle and impounded it. The South Portland Police Department applied for a warrant to

search the vehicle that afternoon. A Maine district court judge issued the warrant at roughly 4:03

p.m. that day. There was no indication at the hearing that the search conducted pursuant to the

warrant turned up any additional evidence, though the warrant did confer authority to seize,

among other things, credit cards in the name of Shawn Collins and game systems already known

to be present in the car. (Gov‟t Ex. 5.)

                                           DISCUSSION

       Defendants Campbell and Porteous contend that the evidence gathered from the vehicle

and all statements they made at the scene must be suppressed because they were obtained in

violation of the Constitution. According to these two defendants, the officers never had

reasonable articulable suspicion to conduct a traffic stop; never obtained a valid basis to conduct

a warrantless search of the vehicle; subjected Defendants to unwarned, custodial interrogation;

and never developed probable cause to support their search warrant application. (Def. Porteous‟s

Mot. to Suppress, Doc. No. 40; Def. Campbell‟s Mot. to Suppress, Doc. No. 42.) The

Government says otherwise, contending that there was ample suspicion to support the traffic

stop; that the questions addressed to Campbell and Porteous were not posed in a custodial

environment, but rather in a common-place Terry-stop context; and that the warrantless search

of the vehicle was lawful based on consent or, alternatively, based on the automobile exception

because the officers had probable cause to believe the vehicle contained drugs or contraband

credit cards. (Gov‟t Opposition, Doc. No. 47.)




                                                 7
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 8 of 19                                     PageID #: 158




A.       The Traffic Stop

         “The Fourth Amendment prohibits „unreasonable searches and seizures‟ by the

Government, and its protections extend to brief investigatory stops of persons or vehicles that

fall short of traditional arrest. United States v. Arvizu, 534 U.S. 266, 273 (2002) (citing Terry v.

Ohio, 392 U.S. 1, 9 (1968)). Law enforcement officers may conduct brief investigatory stops,

including traffic stops, when they are able “to point to specific and articulable facts which, taken

together with rational inferences from those facts, reasonably warrant that intrusion.” Terry, 392

U.S. at 21. When officers are cognizant of facts that, viewed objectively, would lead a

reasonable person to believe that “criminal activity may be afoot,” id. at 30, they may stop and

detain private citizens to investigate. Id. at 21-22. Probable cause to make an arrest is not

required for this, but mere “inarticulate hunches” will not suffice. Id. at 22. The fact that

suspects are traveling in a motor vehicle does not raise the Government‟s burden. Arizona v.

Johnson, 555 U.S. 323, 327 (2009). Once a vehicle is stopped based on reasonable articulable

suspicion, officers may instruct the driver and passengers to exit the vehicle without running

afoul of the Fourth Amendment. Id. at 331 (citing Maryland v. Wilson, 519 U.S. 408, 415

(1997) (passengers), and Pennsylvania v. Mimms, 434 U.S. 106, 111 n.6 (1977) (per curiam)

(driver)).6

         Defendants argue that the officers stopped and detained them based on a mere hunch or,

worse, based on racial profiling. The facts do not support either contention. The traffic stop was

supported by reasonable articulable suspicion that Defendants had engaged in fraudulent credit

card transactions at Bull Moose and were continuing with that activity at Toys R Us. This

6
         The United States did not offer testimony to the effect that the officers had reasonable suspicions that
Barnes, Campbell, or Porteous may be armed and dangerous. The Supreme Court has held that the frisk portion of a
“stop and frisk” calls for a separate inquiry. Arizona v. Johnson, 555 U.S. at 323, 332. Here, however, there is no
indication that the officers obtained any incriminating evidence as a result of frisking the moving defendants and the
moving defendants have not raised any challenge related to being frisked.

                                                          8
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 9 of 19                                 PageID #: 159




suspicion was not based on the color of Defendants‟ skin, but on the suspicious nature of their

activity at Bull Moose, which was sufficient to cause two store clerks to suspect that criminal

activity was afoot and would reasonably have caused any prudent person to suspect the

fraudulent use of credit cards to purchase high-demand consumer electronics. Defense counsel

noted that the use of another person‟s credit card is not illegal, if the use is permitted, and

suggested that Defendants were not given the benefit of the doubt merely because of the color of

their skin. That is not a fair characterization of what transpired. Defendants‟ conduct was

particularly suspicious because they presented themselves at the store in a serial fashion, even

though they were travelling together, and two different men presented credit cards bearing the

same name. The second man presented two credit cards, both of which were declined.

Thereafter, a third man in their party seemed intent on repeating the procedure and, like the other

two, desired to purchase multiple game systems. Any reasonable person who was paying

attention, as these store clerks were, would believe that criminal activity may be afoot. The fact

that the men departed in a vehicle with a New York license plate could only increase the

suspicion. Had all three men been white, their conduct would have been no less suspicious. The

roadside detention was reasonable under these circumstances.

        In a supplemental memorandum (Doc. No. 69), Defendants assert that a review of the

dispatch recordings7 undermines the idea that the officers could articulate a reasonable suspicion

of criminal activity or reliably identify the SUV described by the Bull Moose clerks. I do not

find these arguments persuasive. The fact that one could imagine a scenario in which the

Defendants‟ actions at Bull Moose were legitimate does not preclude a finding of reasonable

suspicion. Officer Hebert had sufficient, reliable information to articulate reasonable suspicion

7
         The parties have introduced supplemental joint exhibits 1 and 2. These exhibits are transcripts of,
respectively, the Scarborough Police Department dispatch recording and the South Portland Police Department
dispatch recording, which were admitted at the hearing in audio format.

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Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 10 of 19                                     PageID #: 160




and justify a traffic stop.8 Moreover, Officer Gerrish reliably identified the vehicle based on the

SUV description, the fact that it was in the Toys R Us parking lot, the license plate number,9 and

the fact that it was transporting three black males. The balance of the points made by Defendants

Campbell and Porteous (that there was no report of suspicious activity from Toys R Us; that

officers could have run the plates and followed the vehicle; that the rental car company could

have been called to determine the names of the renters; that area businesses could have been

interviewed) are similarly unavailing.

B.       Unwarned Questioning

         Defendants Campbell and Porteous contend that their statements to the officers must be

excluded because they were obtained without Miranda warnings. The rule of Miranda v.

Arizona, 384 U.S. 436 (1965), requires that warnings be administered to criminal suspects in

advance of “custodial interrogation” in order to safeguard the Fifth Amendment privilege against

self-incrimination. United States v. Lopez, 380 F.3d 538, 545 (1st Cir. 2004). For Defendants‟

motions to succeed, it must be apparent that they were in custody at the time of their unwarned

statements. United States v. Hughes, 640 F.3d 428, 435 (1st Cir. 2011). For purposes of the

Fifth Amendment, “in custody” means that a person has been formally arrested or has had his

freedom of movement restrained to the degree associated with a formal arrest. Id. Whether the

restraint on movement is sufficient to rise to the level of an arrest depends on the objective

circumstances and how they would be perceived by a reasonable person standing in the shoes of


8
          The transcript of the South Portland dispatch recording reflects that Officer Gerrish had some “direct”
communication with Officer Hebert prior to the traffic stop (Joint Ex. 2 at 2), which is consistent with the testimony
elicited at the hearing. In any event, the Government does not have to prove that Officer Gerrish could personally
articulate a reasonable suspicion of criminal activity, even though he is the officer who made the stop. It is enough
that one of the officers involved in the investigation could do so. United States v. Cook, 277 F.3d 82, 86 (1st Cir.
2002).
9
          The transcript of the Scarborough dispatch recording reflects that the registration number taken from the
clerks was FFE 2099 and that the vehicle‟s actual registration number was FFE 2909. (Joint Ex. 1 at 2.) This is
certainly a reliable match, standing alone, for purposes of vehicle identification.

                                                         10
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 11 of 19                                  PageID #: 161




the suspect. Id.; United States v. Ventura, 85 F.3d 708, 711 (1st Cir. 1996). “Relevant

circumstances include whether the suspect was questioned in familiar or at least neutral

surroundings, the number of law enforcement officers present at the scene, the degree of physical

restraint placed upon the suspect, and the duration and character of the interrogation.” Ventura,

85 F.3d at 711 (quotation marks and citation omitted).

        Neither the questioning that Officer Hebert conducted of Defendant Campbell nor the

questioning Sergeant Chard conducted of Defendant Porteous rose to the level of custodial

interrogation.10 The questioning took place in a hotel parking lot, the men were not restrained,

and the duration of the encounter was not excessive. Although Defendants were outnumbered by

the officers, they were not crowded by the officers or even double-teamed during questioning.

The Defendants likely observed Officer Gerrish restraining Defendant Barnes and placing him

inside a cruiser, but they would have been aware that Barnes was driving, had not produced any

identification or driver‟s license when Officer Gerrish first approached the vehicle, and had

indicated that his license was likely suspended. There was no message implicit in the act of

arresting Barnes that the others would be taken into custody, too. In light of all of the facts and

circumstances, a reasonable person standing in their shoes would not have believed that he was

being subjected to a restraint equivalent to a formal arrest.

C.      The Vehicle Search

        The Fourth Amendment prohibits the federal authorities from conducting unreasonable

searches. U.S. Const. amend. IV. This prohibition applies equally to state authorities by virtue

of the Fourteenth Amendment. Mapp v. Ohio, 367 U.S. 643, 655-56 (1961). “[S]earches

conducted outside the judicial process, without prior approval by judge or magistrate, are per se


10
        Barnes is not a movant and, consequently, I do not offer any assessment about Officer Gerrish‟s
conversation with him in relation to the custodial interrogation standard.

                                                       11
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 12 of 19                        PageID #: 162




unreasonable under the Fourth Amendment—subject only to a few specifically established and

well-delineated exceptions.” Katz v. United States, 389 U.S. 347, 357 (1967) (footnote omitted).

An officer is not free to conduct a “field-type” search of a vehicle‟s passenger compartment as

part of every routine traffic stop. Knowles v. Iowa, 525 U.S. 113, 114 (1998). This is so even if

there has been a civil traffic violation and state law gives the officer the discretionary authority to

make an arrest. Id. However, exceptions to this general rule arise when there is an arrest of an

occupant, when an occupant consents to a search, or when there is probable cause to expect that

the vehicle contains evidence of criminal activity, as discussed below.

       1.      Search incident to arrest

       The first exception to the warrant requirement allows an officer to search a vehicle‟s

passenger compartment pursuant to a “formal” or “custodial” arrest. Id. at 117-18. This

exception “derives from interests in officer safety and evidence preservation that are typically

implicated in arrest situations,” Arizona v. Gant, 556 U.S. 332, ___, 129 S. C.t 1710, 1716

(2009), and grows out of an exigency exception previously applied in the context of searches

made incident to an arrest in the home, Chimel v. California, 395 U.S. 752 (1969) (describing the

development of the exception). This exception is restricted to scenarios in which the passenger

compartment of the vehicle is within the arrestee‟s immediate control and extends to containers

found inside the vehicle. New York v. Belton, 453 U.S. 454, 460, 462-63 (1981). However, this

exception “does not authorize a vehicle search incident to a recent occupant‟s arrest after the

arrestee has been secured and cannot access the interior of the vehicle.” Gant, 129 S. Ct. at

1714. Moreover, this exception arises only when there is a reasonable threat to officer safety or

where there is reason to believe that the vehicle contains “evidence of the offense of arrest.” Id.




                                                  12
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 13 of 19                      PageID #: 163




       Turning to the facts of the instant case, Defendant Barnes was removed from the vehicle,

arrested, and handcuffed for operating after suspension. Although Defendants Campbell and

Porteous were not restrained by handcuffs, they had been patted down for weapons and moved

away from the vehicle at the time of the search and each was being attended to by a different

officer on the scene. No officer has testified that he suspected the vehicle to contain evidence of

operating after suspension, an unlikely proposition, or that a safety exigency existed that would

justify an exploratory search of the locked glove box and a container found within it.

Consequently, this particular exception to the warrant requirement is not available here.

       2.      Consent

       The second exception to the warrant requirement is search by consent. “It is . . . well

settled that one of the specifically established exceptions to the requirements of both a warrant

and probable cause is a search that is conducted pursuant to consent.” Schneckloth v.

Bustamonte, 412 U.S. 218, 219 (1973). Officers need not have a warrant to search when a

person has authority to give consent to a search and freely and voluntarily gives consent. United

States v. Jones, 523 F.3d 31, 37 (1st Cir. 2008). “The assessment of whether consent is free and

voluntary is a question of fact that requires an examination of the totality of the circumstances

surrounding the relevant transaction between law-enforcement authorities and the consenting

party.” Id.; see also Ohio v. Robinette, 519 U.S. 33, 39-40 (1996). If the evidence demonstrates

that consent was not “the product of duress or coercion, express or implied,” Schneckloth, 412

U.S. at 227, voluntariness is ordinarily established. However, additional factors such as age or

lack of knowledge or intelligence may preclude a finding that consent was given voluntarily. Cf.

J.D.B. v. North Carolina, 131 S. Ct. 2394 (2011) (involving unwarned statements made by a 13-

year-old student).



                                                 13
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 14 of 19                       PageID #: 164




         A consent search is reasonable so long as it remains within the scope of the consent

given. Jones, 523 F.3d at 38. To determine the scope of a consent, a court must determine what

a typical reasonable person would have understood based on the overall context of the exchange

between the consenting party and the officer. Id. at 38-39. If it is objectively reasonable for an

officer to believe that the scope of consent extends to a particular place or container, the officer

is permitted to search the same. Florida v. Jimenez, 500 U.S. 248, 251 (1991). For example,

consenting to a search of a vehicle‟s passenger compartment for contraband drugs, without

placing any limitation on the scope of the search, will justify a search of containers found inside

the vehicle that could contain the drugs. Id.; United States v. Forbes, 181 F.3d 1, 7 (1st Cir.

1999).

         The United States justifies the search of the glove box, in part, based on Defendant

Porteous‟s consent to having Sergeant Chard put his canine partner in the vehicle. However, that

consent extended only so far as to having the dog put into the car. As to that degree of intrusion

on Defendants‟ privacy, the totality of the circumstances depict a voluntary consent. Defendant

Porteous was not subject to the pressures of a custodial interrogation and was not restrained,

even if he was not free to go. The officers did have a commanding presence at the time of

Porteous‟s consent, but that presence was not overbearing on Porteous and was calibrated to the

fact that three suspects were present at the scene. An adult American citizen of common

intelligence and constitution would not have been so overwhelmed by the pressures of this traffic

stop to be unable to withhold consent to having a dog run through his or her vehicle. As the

pronounced renter of the vehicle, Defendant Porteous gave valid consent to Sergeant Chard to

introduce Chesca to the passenger compartment. United States v. Matlock, 415 U.S. 164, 170




                                                 14
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 15 of 19                                     PageID #: 165




(1974) (recognizing that one with common authority over premises may consent to a search).11

Chesca‟s subsequent alert opened the door for application of yet another exception to the warrant

requirement.

         3.       The automobile exception

         The third exception to the warrant requirement is commonly referred to as the

“automobile exception.” Pursuant to this exception, officers “who have legitimately stopped an

automobile and who have probable cause to believe that contraband is concealed somewhere

within it” are permitted to “conduct a search of the vehicle that is as thorough as a magistrate

could authorize in a warrant.” United States v. Ross, 456 U.S. 798, 800 (1982). This exception

is grounded on the fact that ,“historically[,] warrantless searches of vessels, wagons, and

carriages—as opposed to fixed premises such as a home or other building—had been considered

reasonable by Congress.” Id. at 805. According to the Supreme Court: “individuals always had

been on notice that movable vessels may be stopped and searched on facts giving rise to probable

cause that the vehicle contains contraband, without the protection afforded by a magistrate‟s

prior evaluation of those facts.” Id. at 807 n.8. “Given the nature of an automobile in transit . . .

an immediate intrusion is necessary [and] a warrantless search of an automobile is not

unreasonable.” Id. at 806-807. Because this exception is premised on probable cause, officers

must have knowledge of objective facts sufficient to justify the issuance of a warrant to search

the vehicle. Id. at 808-809. Where there is probable cause to search an entire vehicle, officers

may also search containers and packages found inside the vehicle that “might contain the object

of the search.” Id. at 821. “The scope of a warrantless search based on probable cause is no

11
   Compare Georgia v. Randolph, 547 U.S. 103 (2006) (holding that a consent search of a residence was
unreasonable when a wife gave consent to search but her husband, also present on the scene, vocalized his objection
and expressly refused consent). The officers in this case did not give every occupant of the vehicle a chance to be
heard on the dog-sniff search of the interior of the vehicle, but I am unaware of any precedent requiring them to poll
all of the occupants of a vehicle to ensure that none objects.

                                                         15
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 16 of 19                          PageID #: 166




narrower—and no broader—than the scope of a search authorized by a warrant supported by

probable cause.” Id. at 823. See also United States v. Lopez, 380 F.3d 538, 544-45 (1st Cir.

2005). “Probable cause exists where „the facts and circumstances within [the knowledge of

officers] of which they had reasonably trustworthy information are sufficient . . . to warrant a

man of reasonable caution in the belief‟” that an offense has been committed or that contraband

is present. Brinegar v. United States, 338 U.S. 160, 175-176 (1949) (quoting Carroll v. United

States, 267 U.S. 132, 162 (1925)).

       Defendants contend that the officers lacked probable cause to believe that the vehicle

contained evidence of criminal activity. The Government disagrees and offers three viable

solutions to the issue. First, it responds that the officers had probable cause to search the glove

box because Defendant Porteous consented to Sergeant Chard‟s request to put Chesca in the car

and the officers gained probable cause to search the glove box for contraband substances when

Chesca alerted on the glove box. (Gov‟t Opposition at 9.) Second, the Government asserts that

Officer Gerrish‟s detection of the smell of marijuana alone supplied sufficient probable cause to

search the passenger compartment and containers found therein. (Id. at 10.) Third, the

Government maintains that the officers‟ evolving investigation into credit card fraud generated

probable cause to believe the vehicle contained evidence of that criminal activity. (Id. at 10 n.

9.) There is legal authority and a solid factual basis for each of these alternatives.

               a.      Chesca‟s alert

       Because Defendant Porteous provided a valid consent to admitting Chesca into the

interior of the vehicle, her subsequent alert on the glove box provided probable cause to believe

that the glove box held contraband drugs. See Illinois v. Caballes, 543 U.S. 405, 409 (2005)

(holding that dog sniff supplied probable cause to search vehicle‟s trunk).



                                                  16
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 17 of 19                       PageID #: 167




               b.      The smell of marijuana

       The Government argues that it need not rely on Chesca‟s olfactory prowess and that the

officers had probable cause to search the passenger compartment and glove box based on Officer

Gerrish‟s mere human sensibilities. The Maine Supreme Judicial Court has held that an officer‟s

detection of the smell of marijuana coming from a vehicle and “furtive behavior” on the part of

the vehicle‟s occupants supply probable cause to search a vehicle. State v. Ireland, 706 A.2d

597, 601 (Me. 1998). It has also held that the smell of burned marijuana, standing alone,

provides probable cause to believe that a vehicle contains marijuana. State v. Barclay, 398 A.2d

794, 797 (Me. 1979). Officer Gerrish testified that his training included training on the detection

of marijuana by smell. Officer Gerrish‟s detection of the smell of marijuana upon his first

encounter with the vehicle‟s occupants, through an open window, supplied probable cause for

him to search the vehicle for evidence of marijuana. This is a logical corollary to the use of a

trained dog‟s alert to supply probable cause for a vehicle search and is equally appropriate in the

context of the automobile exception to the warrant requirement.

               c.      Evolving evidence of theft by fraudulent use of credit cards

       Finally, the Government maintains that the evidence within the officers‟ collective

knowledge supplied probable cause to believe that the occupants of the vehicle were the men

who had occasioned the Bull Moose report and that evidence of criminal activity involving

fraudulent credit cards or credit card usage would be found inside the vehicle. A probable cause

determination can be supported by resort to the collective fund of knowledge possessed by all of

the officers participating in an investigation. United States v. Paradis, 802 F.2d 553, 557 (1st

Cir. 1986). In this particular case, probable cause arises based on the extremely suspicious use

of the “Shawn Collins” credit cards at Bull Moose; the focus on buying multiple high-demand



                                                17
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 18 of 19                    PageID #: 168




electronic game systems; discovery of the vehicle and its occupants at the Toys R Us store,

which corroborated their earlier presence at Bull Moose; Defendant Barnes‟s denial that they

were ever at the Bull Moose store and his denial about having any credit card in his possession;

Defendant Campbell‟s initial admission that they had been at Bull Moose coupled with his later

denial about being at the store and his evasive response when asked about the use of credit cards;

and the contradictory stories given by all three men about why they were in the area. When all

of these facts and circumstances are considered together, a person of reasonable caution would

be justified in the belief that one or more of the occupants of the vehicle had committed criminal

offenses involving credit card transactions and that evidence of those offenses would be found

somewhere in the vehicle. Given the physical size of credit cards, a search of the glove box was

a reasonable intrusion. The Government‟s argument that the smell of marijuana, by either man

or beast, was not essential to the search of the glove box is sound. The automobile exception

permitted this intrusion because there was probable cause to believe that evidence of the charged

offense was located inside the vehicle.

D.     The Warrant

       Lastly, Defendants Campbell and Porteous contend that the search warrant should not

have issued for want of probable cause. The magistrate‟s task in this regard was “simply to

make a practical, common-sense decision whether, given all the circumstances set forth in the

affidavit before him, including the „veracity‟ and „basis of knowledge‟ of persons supplying

hearsay information, there [was] a fair probability that contraband or evidence of a crime will be

found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983). For reasons already

explained probable cause called for issuance of the warrant.




                                                18
Case 2:11-cr-00100-GZS Document 73 Filed 12/06/11 Page 19 of 19                      PageID #: 169




                                            Conclusion

       For the reasons set forth above, I RECOMMEND that the Court DENY Defendant

Porteous‟s Motion to Suppress (Doc. No. 40) and DENY Defendant Campbell‟s Motion to

Suppress (Doc. No. 42).

                                             NOTICE

                A party may file objections to those specified portions of a magistrate
       judge's report or proposed findings or recommended decisions entered pursuant to
       28 U.S.C. 636(b)(1)(B) for which de novo review by the district court is sought,
       together with a supporting memorandum, and request for oral argument before the
       district judge, if any is sought, within fourteen (14) days of being served with a
       copy thereof. A responsive memorandum and any request for oral argument
       before the district judge shall be filed within fourteen (14) days after the filing of
       the objection.

              Failure to file a timely objection shall constitute a waiver of the right to de
       novo review by the district court and to appeal the district court's order.

                                              /s/ Margaret J. Kravchuk
                                              U.S. Magistrate Judge
       December 6, 2011




                                                19
